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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Xx

CHUNG v. TRUMP No. 25-CV-2412 (NRB)

x

Whereas on May 7, 2025, the Government informed the undersigned by letter that,
in connection with the above-captioned civil litigation, the District Judge directed the
Government to apply to the undersigned to unseal the application for the search and
seizure warrants issued under 25-Mag-872 (the “Application”); and

Whereas the Government requests that the Application be unsealed; and

Whereas in its letter the Government represents that “[t]he original reasons for
sealing the Application for the search and seizure warrants no longer exist”; and

The undersigned approves unsealing of the Application, subject to redaction of
information to protect privacy of parties and third-parties; and, with the instant order
attaches the unsealed Application so redacted.

A copy of this order will also be filed in 25-Mag-872.

SO ORDERED,

: ee
PGP a nn en

ROBERT W. LEHRBURGER
UNITED STATES MAGISTRATE JUDGE

Dated: May 14, 2025
New York, New York

Copies transmitted to all counsel of record.
AO 106 (SDNY RevGABE AbpRadGMoDcaa tink Document49 Filed 05/13/25 Page 2 of 22

UNITED STATES DISTRICT COURT

for the
Southern District of New York

Tn the Matter of the Search of

(Briefly describe the property te be searched
or identify the person by name and address) Case No
(1) west STREET APT. I NEW YORK, NEW ’

YORK 10027; and
(2) BIwest BBBESTREET, ROOM NEW YORK, NEW
YORK 10025

25 MAG 872

sar ong

APPLICATION FOR A SEARCH AND SEIZURE WARRANT

I, a federal law enforcement officer or an attomey for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

(1) MWesT STREET APT.MEE NEW YORK, NEW YORK 10027; and (2) WEST BESTREET,
ROOMIE NEW YORK, NEW YORK 10025

located in the Southern District of New York , there is now concealed fidensify the

person or describe the property to be seized):

See Attached Affidavit and its Exhibits

The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
X evidence of a crime;
X contraband, fruits of crime, or other items illegally possessed;
X property designed for use, intended for use, or used in committing a crime:
{2 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:
Cade Section{s) Offense Description(s)
8 USC 1324 Harboring aliens

The application is based on these facts:
See Attached Affidavit and its Exhibits

a Contined on the attached sheet.

(J Delayed notice of 30 days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C, § 3103a, the basis of which is set forth on the attached sheet.

S/ by the Court with permission
Applicant's signature

George Ioannidis, ASAC, HS]

Printed name and title

Sworn to before me and signed in my presence by telephone.

Date: 03/13/2025 Ou

Judge's signature

City and state: New York, NY Hon. Robert W. Lehrbruger, U.S.M.J.

Printed name and title

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In the Matter of the Search Of
(1) WEST STREET APT. AGENT AFFIDAVIT
, NEW YORK, NEW YORK
10027; and ae.

)— west (EBB street,
ROOM ff, NEW YORK, NEW
YORK 10025

AFFIDAVIT IN SUPPORT OF THE APPLICATION FOR SEARCH WARRANTS
The undersigned being duly sworn deposes and says under penalty of perjury
pursuant to 28 U.S.C. § 1746:

I. Introduction

1 Iam a Special Agent with Homeland Security Investigations (“HST”) and have
been since 2009. As such, I am a “federal law enforcement officer” within the meaning of
Federal Rule of Criminal Procedure 41(a)(2)(C), that is, a government agent engaged in
enforcing the criminal laws and duly authorized by the Attorney General to request a search
watrant. My duties include conducting/assisting/supervising investigations into violations of
federal immigration and customs laws. As part of my employment with HSI, I successfully
completed the Federal Law Enforcement Training Center’s Criminal Investigator Training
Program and Special Agent Training, both of which included instruction with respect to the
application for, and execution of, search and arrest warrants, as well as the application for
criminal complaimts and other legal processes. I have participated in numerous investigations,
during the course of which I have interviewed suspects and witnesses, executed court-
authorized arrest and search warrants, including warrants for certain information sought

herein, along with the derivative administrative arrest of individuals for violations of the

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Immigration and Nationality Act. I am familiar with the facts and circumstances set forth
below from my participation in the investigation, discussions with other law enforcement
officials, my review of documents and my training and experience.

2. I make this affidavit in support of the application for a warrant authorizing the
search of the following residences:

a. [J west JJ STR er, apr. J, New york, NEW YoRK
10027 “SUBJECT PREMISES-1”) (a photograph of the building in
which the premises is located is attached as Ex. A-1), and

b. | wesT [J STREET, room|, New York, NEW YORK
10025 (SUBJECT PREMISES-2” (a photograph of the building in
which the premises is located is attached as Ex. A-2), together with
SUBJECT PREMISES-1, the “SUBJECT PREMISES”).

3. Through this affidavit, I intend to show that probable cause exists for the
requested warrant—that is, that there is probable cause to believe that SUBJECT PREMISES-
| is the residence of RANJANI SRINIVASAN, a person subject to immigration officers’
powers to arrest under 8 U.S.C. § 1357(a)(2), and that there is probable cause to believe that
the evidence sought is likely to be found there. DHS agents confirmed that on March 11,
2025, SRINIVASAN departed the United States via LaGuardia airport to Montreal, Canada.
At this time her whereabouts are unknown. I further submit that that there is probable cause to
believe that SUBJECT PREMISES-?2 is the residence of YUNSEO CHUNG, a person subject
to immigration officers’ powers to arrest under 8 U.S.C. § 1357(a)(2}, and that there is
probable cause to believe that the person and other evidence sought is likely to be found there.

4, I further submit, based on the information contained in this affidavit, that

located in the SUBJECT PREMISES are evidence, fruits, and instrumentalities of violations

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of 8 U.S.C. § 1324 (the “SUBJECT OFFENSE”). As explained below, the SUBJECT

PREMISES, located within the Southern District of New York constitute Columbia
University student housing, in that the persons residing in these locations are affiliated with
Columbia University, including students and resident advisors. I have received confirmation
from federal immigration authorities that YUNSEO CHUNG is now present in the United
States, that YUNSEO CHUNG, is subject to removal, and that RANJANI SRINIVASAN was
subject to removal. As explained below, Columbia University has been advised by
immigration authorities that YUNSEO CHUNG is now present in the United States and that
RANJANI SRINIVASAN was a removable alien and YUNSEO CHUNG is a removable
alien. Despite this knowledge, Columbia University has refused, and continues to refuse, to
permit immigration officers to locate and arrest RANJANI SRINIVASAN and YUNSEO
CHUNG at their student housing and were and are thus concealing, harboring, or shielding
from detection removable aliens, RANJANI SRINIVASAN and YUNSEO CHUNG, or are
conspiring to do so.
Il. Applicable Law

5. The Immigration and Nationality Act, 8 U.S.C. § 1101 ef seq., was passed by
Congress as a means to restrict illegal immigration into the United States. Pursuant to 8 U.S.C.
§ 1357(a), immigration officers have the authority:

a. to interrogate any alien or person believed to be an alien as to his right

to be or to remain in the United States;

b, to arrest any alien who in his presence or view is entering or attempting
to enter the United States in violation of any law or regulation made in
pursuance of law regulating the admission, exclusion, expulsion, or

removal of aliens, or to arrest any alien in the United States, if he
3

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hasreason to believe that the alien so arrested is in the United States in

violation of any such law or regulation and is likely to escape before a warrant
can be obtained for his arrest, but the alien arrested shall be taken without
unnecessary delay for examination before an officer of the Service having
authority to examine aliens as to their right to enter or remain in the United

States ....

6. These enforcement powers reflect Congress’s recognition of the substantial
governmental interest in enforcing immigration laws—an interest the importance of which
the Supreme Court has repeatedly affirmed. See United States v. Martinez-Fuerte, 428 U.S.
543, 556— 58 (1976); United States v. Brignoni-Ponce, 422 U.S. 873, 878-79 (1975).

7. Pursuant to Title 8, United States Code, Section 1324(a)(1)(A)Gii) and (v)(1)
and (ID it is a crime, including to conspire to, or aid and abet another, to knowingly or in
reckless disregard of the fact that an alien has come to, entered, or remains in the United
States in violation of law, conceal, harbor, or shield from detection, or attempt to conceal,
harbor, or shield from detection, such alien in any place, including any building or any means
of transportation.

lil. FACTS ESTABLISHING PROBABLE CAUSE

8. Based on my review of records and reports, | have learned the following, in
substance and in part, as to RANJANI SRINIVASAN and SUBJECT PREMISES-1:

a. RANJANI SRINIVASAN, a citizen of India, entered the United States
on an F-1 visa to pursue studies. This visa is a non-immigrant visa that
issued by the U.S. Department of State that allows international

students to study full-time in the United States.

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On or about March 5, 2025, SRINIVASAN’s F-1 visa was revoked by
the State Department, pursuant to 8 U.S.C. § 1201 @). The Secretary
of State has revoked her visa “immediately” rendering her not in
possession of any documents to remain in the United States legally.
The removability charge (8 U.S.C.§ 1227(a)(1)(B)) is analogous to an
individual overstaying the time limit of their visa admission. At this point,
SRINIVASAN is subject to being administratively arrested, and, tf arrested,
will be issued a Notice to Appear before the Executive Office for Immigration
Review immigration judge, and subject to the removal process as prescribed
by statute and applicable regulations.

On or about March 8, 2025, an authorized Immigration Officer signed
a warrant determining that there is probable cause to believe that
SRINIVASAN is removable from the United States based on biometric
confirmation of SRINIVASAN *s identity and arecord check of federal
databases that affirmatively indicate, by themselves or in addition to
other reliable information, that SRINIVASAN either lacks
immigration status or notwithstanding such status is removable under

U.S. immigration law. See Exhibit B.

According to the Student and Exchange Visitor Information System:

(SEVIS) application records and other databases, as of March 7, 2025,
SRINIVASAN resides at fj west i STREET apt. J, New
YORK, NEW YORK 10027 (£e., SUBJECT PREMISES-1), The
Department of Homeland Security (DHS) administers the SEVIS,

which ensures that government agencies have essential data related to

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nonimmigrant students, SEVIS is a web-based system for maintaining
information on nonimmigrant students in the United States. SEVIS
implements Section 641 of the Illegal Immigration Reform and
Immigrant Responsibility Act of 1996, which requires DHS to collect
current information from nonimmigrant students continually during
their course of stay in the United States. The current information from
SEVIS indicated that SRINIVASAN resides at PREMISES-1.

€. In addition to the information obtained from SEVIS, SRINIVASAN’s
address was corroborated on or about March 7, 2025, when HSI agents
and an Enforcement and Removal Operations officer visited
SUBJECT PREMISES-1. The doorman at the building confirmed
SRINIVASAN lived in the building after being shown her photo.
When agents knocked on the door of Apartment a. an unidentified
female responded, with an accent that agents recognized as from India.
The unidentified female would not open the door without a warrant and
subsequently locked the deadbolt. The female refused to identify
herself or confirm if SRINIVASAN was present.

9. Based on the foregoing information, there is probable cause to believe
SRINIVASAN was subject to immigration enforcement action under 8 U.S.C. § 1357(a}(2)
due to her revoked F-1 visa.

10. Additionally, based on the foregoing, there is probable cause to believe that

SRINIVASAN was located at SUBJECT PREMISES-1.

11. Based on my review of records and reports as well as information provided by

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individuals with direct knowledge, J have learned the following, in substance and in part, as

to YUNSEO CHUNG and SUBJECT PREMISES-2:

a.

YUNSEO CHUNG, a citizen of South Korea, entered the United States
on or about June 23, 2009, on an F-2 Visa—a dependent visa that
allows the spouse and minor children of an F-1 visa holder (that is, a
nonimmigrant student who is studying in the United States at an
accredited college) to enter the United States,

On or about June 18, 2020, CHUNG requested Legal Permanent
Resident Status.

On or about August 27, 2021, CHUNG was issued a Legal Permanent
Resident card.

On or about February 21, 2025, CHUNG applied to replace her Legal
Permanent Resident card.

On or about March 5, 2025, CHUNG was arrested by the New York
City Police Department for Obstruction of Governmental
Administration 2nd Degree, Disorderly Conduct (Refusing to Move
On), and Trespass. These charges stemmed from an incident inwhich,
on or about March 5, 2025, CHUNG allegedly refused to leave an area
that police were attempting to clear due to a bomb threat investigation.
According to arrest records, CHUNG obstructed police activity by
locking arms with other individuals and refusing to comply with
multiple warnings to leave the area,

According to information provided by CHUNG at the time of her arrest

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and later, CHUNG is a a junior at Columbia University,
currently residing at [J WEST [J STREET, ROOMI, New
YORK, NEW YORK 10025, in J (Columbia University
housing), i.e., SUBJECT PREMISES-2.

On or about March 7, 2025, U.S. Secretary of State Marco Rubio
determined that CHUNG is a deportable alien under Section
237(a)(4\(C) of the Immigration and Nationality Act, finding that her
presence and activities would have potentially serious adverse foreign
policy consequences and would compromise a compelling U.S. foreign
policy interest. Title 8 U.S.C. Section 1227(a)(4)(C))G) provides, “An
alien whose presence or activities in the United States the Secretary of
State has reasonable ground to believe would have potentially serious
adverse foreign policy consequences for the United States is
deportable.” This makes CHUNG subject to being administrative
arrested and, if arrested, will be issued a Notice to Appear before an
immigration judge for removal proceedings as prescribed by statute
and applicable regulations. There is a ten-day window for subjects
detained in the New York area to appear before the immigration judge.
On or about March 8, 2025, an authorized Immigration Officer signed
a warrant determining that there is probable cause to believe that
CHUNG is removable from the United States based on biometric

confirmation of the subject’s identity and a record check of federal

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databases that affirmatively indicate, by themselves or in addition to
other reliable information, that the subject either lacks immigration
status or notwithstanding such status is removable under U.S.
immigration law.! See Exhibit B.

12. On March 8, 2025, the Department of Justice forwarded by email to a
representative of Columbia University, the immigration warrants referenced above. On
March 9, 2025, the government requested access to the SUBJECT PREMISES so that the
immigration warrants could be executed, Columbia University’s policies available on its
website permit the university to access and inspect student dorm rooms at any time based
upon public safety concerns. In addition, the Columbia University website also contains a
policy refusing immigration officials from entering dormitories to serve administrative
warrants, The passage of time could allow more students to become aware of the immigration
warrants and therefore create an unstable and dangerous situation for both students and law
enforcement officers. As of March 12, HSI-NY has been advised by Columbia University
that University security officials have been instructed not to speakto ICE Agents. In
addition, HIS-NY was advised by University officials and confirmed that they would not
permit our access, consistent with Columbia University policy, without a judicial warrant.

13. In addition, on March 10, 2025, the Department of Justice issued a subpoena
to Columbia University (served on its outside counsel) requiring immediate production of

certain records and communications. Columbia University has not yet complied, although it

'“The term “alien” means any person not a citizen or national of the United States.” 8 U.S.C. § 1£01(a)(3).

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has stated that it has collected the documents the subpoena seeks and intends to cooperate.
However, it has not produced the documents due to its concerns pursuant to provisions of the
Family Educational Rights and Privacy Act of 1974 (“FERPA”).

14, Accordingly, I submit that there is probable cause to believe that evidence,
fruits and instrumentalities of the SUBJECT OFFENSE is located in the SUBJECT
PREMISES. Among other things, if law enforcement encounters CHUNG in SUBJECT
PREMISES-2, respectively, that may be evidence of Columbia University’s violation of the
SUBJECT OFFENSE.

15. In addition, I understand that on March 10, 2025, two attorneys indicating they
represent CHUNG contacted the Department of Justice. At that time, the Department of
Justice advised that CHUNG should surrender herself as soon as possible. CHUNG’s attormmey
did not agree to surrender their client, despite valid warrants.

16. lam not aware of CHUNG having left the SUBJECT PREMISES. I am aware
that in the last year, there have been numerous student protests in the areas nearby the
SUBJECT PREMISES, and that at least one resulted in an assault. The longer CHUNG
remains on the SUBJECT PREMISES, the more likely it is that she may surround themselves
with others who will likely impede or obstruct law enforcement operations and potentially
engage in violence. The more publicity they receive could result in additional protest activity,
leading to a more dangerous situation for students and law enforcement officers. Indeed, I
have been advised that, as of March 11, 2025, there was protest activity in the area of
SRINIVASAN’s location, thus making any search for, or arrest of SRINIVASAN dangerous
for both law enforcement agents and for SRINIVASAN. Further, on March 12, I was notified

that during these protests on the afternoon of March 11, SRINIVASAN, departed the

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SUBJECT PREMISES undetected, traveled to LaGuardia Airport, and boarded a flight to
Montreal, Canada. Airport camera footage shows SRINIVASAN departed with only one bag.
17, Accordingly, I submit that there is potential threat to public safety, as well as
exigent circumstances that further supports the issuance of the requested warrants,

IV. The Evidence Sought

18. The evidence, fruits, and instrumentalities sought at the premises are the

following:

All evidence, fruits, and instrumentalities of violations of 8 U.S.C. § 1324 (the
“SUBJECT OFFENSE”) located within SUBJECT PREMISES-1 and SUBJECT
PREMISES-2 (together, the “SUBJECT PREMISES”), occurring from March 5, 2025 to the
present, which includes:

1. Any records relating to RANJANI SRINIVASAN and YUNSEO CHUNG and their
affiliation with Columbia University, including but not limited to all
communications, including email and letter communications, between Columbia
University and RANJANI SRINIVASAN and YUNSEO CHUNG and all residential
lease agreements or student occupancy agreements or codes of conduct relating to
RANJANI SRINIVASAN and YUNSEO CHUNG occurring from March 5, 2025 to
the present.

2. Any immigration records relating to RANJANI SRINIVASAN and YUNSEO
CHUNG occurring from March 5, 2025 to the present.

3. Any flight or travel records relating to RANJANI SRINIVASAN and YUNSEO
CHUNG occurring from March 5, 2025 to the present.

I submit that these records are likely to be at SUBJECT PREMISES-1 and SUBJECT

I]

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PREMISES-2 because SRINIVASAN and CHUNG were residing there while students at
Columbia University and would likely have received email and letter communications through
their computers and student mailboxes from the university, including regarding their
immigration status; they would have also ikely received mmigration records via email and
student mailboxes and would likely have stored proof of F-1 visa and Legal Permanent Resident
status at their residence; and they would likely have flight or travel records for planned
departure at their residence.
V. Sealing
19. Because the sensitive nature of this immigration enforcement operation, |

respectfully request that this affidavit and all papers submitted herewith be maintainedunder

seal until execution of the warrant, except that the Government be permitted without further

order of this Court to provide copies of the warrant and affidavit as need be to personnel

assisting it in the investigation and enforcement of this matter, and to disclose those materials

as necessary to comply with any legal obligations in proceedings related to this matter.
'y py ¥ leg. & P g

S/ by the Court with permission

George Ioannidis
Assistant Special Agent in Charge
ICE Homeland Security Investigations

Sworn to me through the transmission of this
Affidavit by reliable electronic means, this
13th day of March 2025

{Cu—

THE HONORABLE ROBERT W. LEHRBURGER

United States Magistrate Judge
Southern District of New York

12

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EXDIBIT A-1
The property to be searched is the premises known and described as _ wesT
STREET, APT. wi. NEW YORK, NEW YORK 10027 (“SUBJECT PREMISES-1”), which is an apartment
located on the Floor off West ij Street, New York, New York. A publicly available photo of

West i Street, New York, New York, is below:

13

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EXHIBIT A-2
The property to be searched is the premises known and described as i WEST
STREET, ROOM. NEW YORK, NEW YORK 10025 (“SUBJECT PREMISES-2”), which is an
apartment located on the a Floor of. i WESTER STREET, New York, New York. A publicly

available photo of J WEST [J STREET, New York, New York, is bel

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Exhibit B

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U.S. DEPARTMENT OF HOMELAND SECURITY Warrant for Arrest of Alien

Fie’,

Date: March 08, 2025

To: Any immigration officer authorized pursuant to sections 236 and 287 of the
Immigration and Nationality Act and part 287 of title 8, Code of Federal
Regulations, to serve warrants of arrest for immigration violations

I have determined that there is probable cause to believe that_CHUNG, Yunseo
is removable from the United States. This determination is based upon:

0 the execution of a charging document to initiate removal proceedings against the subject;
0 the pendency of ongoing removal proceedings against the subject;
the failure to establish admissibility subsequent to deferred inspection;

biometric confirmation of the subject’s identity and a records check of federal
databases that affirmatively indicate, by themselves or in addition to other reliable
information, that the subject either lacks immigration status or notwithstanding such status
is removable under U.S. immigration law; and/or

( statements made voluntarily by the subject to an immigration officer and/or other
reliable evidence that affirmatively indicate the subject either lacks immigration status or
notwithstanding such status is removable under U.S. immigration law.

YOU ARE COMMANDED to arrest and take into custody for removal proceedings under the
Immigration and Nationality Act, the above-named alien,

WILLIAM P JOYCE
i PERSO ROSTAO A GOD
(Signature of Authorized Immigration Officer)

opetedeaualy slgned by WILUAM P JOYCE
orl HIRLIAGS P JOYCE, te U5, Gorerrunt,
Wiaitun P Jopraiine thar,

WILLIAM JOYCE =~ Acting Field Office Director
(Printed Name and Title of Authorized Immigration Officer}

Certificate of Service

[hereby certify that the Warrant for Arrest of Alien was served by me at

(Location)
on on , and the contents of this
(Name of Alien) (Date of Service)
notice were read fo him or her in the language.
(Language)
Name and Signature of Officer Name or Number of Interpreter (if applicable)

Form 1200 (Rev. 09/16)

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U.S. DEPARTMENT OF HOMELAND SECURITY Warrant for Arrest of Alien

File No.

To: Any immigration officer authorized pursuant to sections 236 and 287 of the
Immigration and Nationality Act and part 287 of title 8, Code of Federal
Regulations, to serve warrants of arrest for immigration violations

I have determined that there is probable cause to believe that SRINIVASAN, RANJANI
is removable from the United States, This determination is based upon:

C] the execution of a charging document to initiate removal proceedings against the subject;
[1 the pendency of ongoing removal proceedings against the subject;
(1 the failure to establish admissibility subsequent to deferred inspection;

biometric confirmation of the subject’s identity and a records check of federal
databases that affirmatively indicate, by themselves or in addition to other reliable
information, that the subject either lacks immigration status or notwithstanding such status
is removable under U.S. immigration law; and/or

C] statements made voluntarily by the subject to an immigration officer and/or other
reliable evidence that affirmatively indicate the subject either lacks immigration status or
notwithstanding such status is removable under U.S. immigration law.

YOU ARE COMMANDED io arrest and take into custody for removal proceedings under the
Immigration and Nationality Act, the above-named fth.| JAM P p“opatstaican rover ous
mailWillam.P Jayca@ice.dhs.gov, c=US

Nhon=WELLIAM P JOYCE, os.S.
JOYCE “SE Date: 2025-02-08T 16:39:58-0500

Government, ot-Peopke,
(Signature of Authorized Immigration Officer)

WILLIAM JOYCE - Acting Field Office Director
(Printed Name and Title of Authorized Immigration Officer)

Certificate of Service

I hereby certify that the Warrant for Arrest of Alien was served by me at

(Location)
on SRINIVASAN, RANJANT on , and the contents of this
(Name of Alien) (Date of Service)
notice were read to him or her in the language.
(Language)
Name and Signature of Officer Name or Number of Interpreter (if applicable)

Form In260 (Rev, 69/16)

cument 49° “Filed:05/13/2

3 - (SBU)N Notif cation n of of Removebility 0 Determinations under Section
ale Ne of the ‘migration and Nati onality Act INA 2

oe ~ (sBU) 1 am writing to inform you that upon notification from the Department oe
of Homeland Security's Homeland Security Investigations (DHS/ICE/HSI)on
March 7, 2025, | have determined that Yunseo Chung Coens
>» POB: South Korea) and Mahmoud Khalil ‘POB: Algeria),
_ both U.S. Lawful Permanent Residents (LPRs), are deportable aliens under
“INA section 237(a)(4)(C), | understand that ICE now intends to initiate
-» removal charges against them, based on assurances from DHS/ICE/HSI.

_.. (SBU) Under INA section 237(a)(4)(C)(i), an alien is deportable fromthe
me United States if the Secretary of State has reasonable ground to believe that
the alien’s presence or activities in the United States would have potentially Es
serious adverse foreign policy consequences for the United States. Under yy
- INA section 237(a)(4}(C){ii), for cases in which the basis for this 88
_determination is the alien’s past, current, or expected beliefs, statements, or
associations that are otherwise lawful, the Secretary of State must
personally determine that the alien’s presence or activities would
as _ compromise a compelling U.S. foreign policy interest.

(su) Pursuant to these authorities, | have determined that the activities

__and presence of these aliens in the United States would have potentially, =
a serious adverse foreign policy consequences and would compromisea age
nee compelling U U. S. foreign policy | interest. These determinations are based on - a

_ SENSITIVE BUT UNCLASSIFIED/AW ENFORCEMENT SENSITIVE os
Lad Classified by: Secretary of State Marco Rublo
£0, 13526, Reason{s}: 14 {justification sections)

wtb os Adele Ur
ab 4-1 DHS Letter on Yunseo Chung

ab 2- 2- ~H5| Subject. Profile of Yunseo Chung.
Tab 3~ DHS Letter on Mahmoud Khalil
Tab 5— HSI | Subject Profile of Mahmoud Khalil
Tab 5~ 8 usc €1227(2 1)(4 \(c )

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United States Department of State

Washington, DC 20520

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SENSITIVE BUT UNCLASSIFIED March 4, 2025

Memo for ICE — Andre R. Watson, Assistant Director, National Security
Division

FROM: CA —John L. Armstrong, Senior Bureau Official
SUBJECT: (SBU) Revocation of Visa — Ranjani SRINIVASAN

(SBU) On March 5, 2025, in response to a request from ICE, and based on
the understanding ICE will terminate her SEVIS status, | approved the
revocation of the visa of Ranjani SRINIVASAN, ME india,
Visa Foil #

(SBU) Subsequent to my approval, the visa was revoked pursuant to the
Secretary of State’s delegated authority under INA section 221(i). This
revocation is effective immediately.

John L. Armstrong
Senior Bureau Official
Bureau of Consular Affairs

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